Case 8:20-bk-10153-TA   Doc 38 Filed 07/08/20 Entered 07/08/20 13:26:11   Desc
                         Main Document    Page 1 of 6
Case 8:20-bk-10153-TA   Doc 38 Filed 07/08/20 Entered 07/08/20 13:26:11   Desc
                         Main Document    Page 2 of 6
Case 8:20-bk-10153-TA   Doc 38 Filed 07/08/20 Entered 07/08/20 13:26:11   Desc
                         Main Document    Page 3 of 6
Case 8:20-bk-10153-TA   Doc 38 Filed 07/08/20 Entered 07/08/20 13:26:11   Desc
                         Main Document    Page 4 of 6
Case 8:20-bk-10153-TA   Doc 38 Filed 07/08/20 Entered 07/08/20 13:26:11   Desc
                         Main Document    Page 5 of 6
Case 8:20-bk-10153-TA   Doc 38 Filed 07/08/20 Entered 07/08/20 13:26:11   Desc
                         Main Document    Page 6 of 6
